
WATSON, Judge.
This suit is consolidated with the suit of Lula Mae Harrell Cleveland, Individually and for the minors, Laverne Cleveland and Henry Cleveland v. Stanley B. Bordelon (No. 4468), 293 So.2d 574, and the suit of Ronald D. Shaw v. The Travelers Insur*575ance Company, et al. (No. 4470), 293 So.2d 568, which we have decided this day.
For the reasons assigned in the case of Ronald D. Shaw v. The Travelers Insurance Company, et al. (No. 4470), the judgment of the trial court is affirmed. Costs of this appeal are assessed against the defendants-appellants.
Affirmed.
